
Smith, J.
A motion has been filed in this ease on bebalf of the defendants, said to be in possession of the land sought to be pár*366titioned in this case, to dismiss the appeal and the case as to sixteen of the persons therein named, who neither gave notice of appeal from the decree of the court of common pleas, nor any bond therefor, and as to fifty others who gave the notice, but gave no bond. The question which is sought to be raised by such motion is, whether the interest of these parties in the subject matter of the controversy is such that the appeals of Robert Barr, the plaintiff, and Samuel Barr and James S. Barr, two of the defendants, all of whom jointly and severally gave notice of their intention to appeal from such judgment, and together gave bonds for appeal, operated to bring up the case as against the other defendants named in the motion, who did not themselves appeal.
We are of the opinion that the motion, as it stands, should not be granted. If the appeal of Robert Barr and the others did bring up the whole case as against all of these particular defendants, they are properly here, and they cannot rightfully be dismissed on this motion. If such appeals did not have this effect, the defendants named are not parties in this court, and if they are not here asserting any claim, the motion is wholly unnecessary.
But since the oral argument heard upon this motion, the counsel filing it have, by written brief, agreed that as to Geraldine Brewster, the heirs of Martha Reed, and the devisees of Jane Chapman, the motion should not be sustained, as there was such a controversy between them and the parties actually appealing, as to' their several interests in the land, as necessarily operated, on an appeal being taken by one of the parties thereto, to bring up the whole controversy between them.
But while the whole motion as it stands, for the reasons before stated, must be overruled, our attention is now called to the fact that on June 25, 1890, after the appeal was docketed in the circuit court, some of the original defendants in the ease, who were found by the trial court to have no interest in the land, and who had not given a bond for appeal, and who *367had taken no steps whatever to perfect such appeal, (the only appeal bond given in the case having been given by, or on behalf of Samuel Barr, Robert Barr and J. S. B. Barr), joined with these persons named who did appeal, in filing, (by leave of the court), an amendment to the supplemental cross-petition of Samuel Barr and others, thus assuming to be parties to the case pending in the circuit court.
Counsel for parties in possession of the land have notified us that a motion would be filed to strike the names of such parties from such amended pleading, or that they would otherwise raise the question of the standing of such parties in the appellate court, and as the whole question has been argued to us, as to the effect of the appeal by the three persons named, on the rights of those p^sons not appealing, and as against whom, as claimed by the counsel for the motion, no relief is asked by the plaintiff or any of the appellants, we state our views on the questions raised.
Briefly stated, the case, as we understand it, is this: Robert Barr commenced an action in the court of common pleas, alleging that he was the owner in fee-simple of a certain interest, viz., the undivided one-fortieth thereof, in a large tract of land situate on Price Hill in this city, in which a large number of other persons (naming them) are tenants in common therein with him, and claim an interest therein. He averred that he was entitled to the immediate possession of his interest, and demanded that partition be made thereof according to law. By his petition he claimed title as an heir at law of¥m. Barr, Sen., who, it is averred, died seized of the whole of said real estate.
An answer and cross-petition was filed in the case by Samuel Barr, Robert Barr, James S. Barr, John Barr, William R. Dunlap, and the heirs of Nancy J. Dunlap, deceased, setting up their several interests in said land, and the way in which they claim title thereto, and disputing and controverting the extent of the interest claimed by the plaintiff therein.
*368We understand that the answer of the defendants who were in possession of the land-, disputed and denied all right and title of any of the Barr heirs so asserted by them to any part of the land, but those answers are not before us, and we can not give their contents accurately.
On this state of facts we are of the opinion—
First: That the action was one, from the judgment in which either of the parties might appeal to the circuit court, and therefore that by the notice given by the three parties, and the appeal bond afterwards given in pursuance thereof, the case was brought into this court, for trial as in the court below of all controversies between the appellants, or either of them, and any of the other parties to the easej and with the case, came every person at all legally interested in the determination of any such controversy between the appellants (or either of them), and any other party to the case.
Second : It is apparent that, as all of the parties in possession of the land in controversy, are interested in the claim asserted by the appellants against the same — they are all here— and it is conceded that where there is any controversy between the appellants, and any other of the persons claiming as heirs at law of the original owner, these controversies, and all parties interested in them are before this court.
Third: But the difficult question for settlement is, whether those persons, parties in the common pleas, claiming an interest in the lands described, as heirs at law of Robert Bari’, deceased, and as to whom the court found that they had no interest whatever in the land sought to be partitioned, and who did not give any bond for an appeal, are now in the circuit court as parties with the right to file pleadings, introduce evidence, and have the court adjudge, if the evidence warrants it, that they or any of them had before or at the time of the rendition of the judgment in the common pleas, an interest in such lands. In other words, whether the appeal by the three Barrs brought into this court the whole case, and all of the persons parties in the common pleas, for the determ*369•ination of all the controverted questions which were raised in that court.
We think it did not necessarily do this. On the contrary, that if there was no controversy between those who appealed, or either of them, and those who were adjudged by the court to have no interest in the land, and the controversy of those not so appealing, was only with their co-defendants in possession of the land, claiming all the title thereto, that the de-: cisión of the court against them, finding that they had no interest therein, was final and binding upon them, unless they, or the claimants of the land, had appealed from such judgment; either or all of them, or either or all of the claimants might have appealed therefrom, and this .would have brought the whole controversy before the appellate court, but this was not done.
We understand the law of this state to be, “that where there is that intimate connection between the parties, that the rights of one cannot be adjudicated without the adjudication of the rights of the others, the appeal of one vacates the whole decree. But in cases not so situated, the decree as against him alone who appealed is vacated. Accordingly, in the case of Glass v. Greathouse, 20 Ohio, 503, from which the foregoing language is quoted, it is held in the first subdivision of the syllabus, that “ in a case in chancery where there are two defendants, and the bill is dismissed as to one, and a decree against the other, an appeal by the latter does not vacate the decree as to the former; more especially where there is not that necessary connection between the defendants, but that the rights of one can be determined without affecting the rights of the other.” See also, 41 Ohio St. 178.
In a case in equity to settle the title to land, and partition the same amongst those found to be the owners and entitled thereto, all persons claiming an interest therein are proper parties thereto, and should be before the court. But we understand that under the laws of Ohio the interests of tenants in common are separate and distinct, and not joint. 10 Ohio, *37011; 10 Ohio, 135; 1 Ohio St. 478. It would seem to follow' then on the authorities cited, that where the court of common pleas in such a case finds that a person, defendant to the action, who asserts, as against the parties in possession, a right as tenant in common to a certain interest in land, the subject of controversy, but asserts no claim as against others of the parties to the action, or particularly as against any one who afterwards appeals from a decree fixing his rights, and by the decree it is adjudged that he has no interest whatever therein —that such decree must be final and binding against such person, unless appealed from.
R. A. Harrison, Bateman &amp; Harper and J. Ledyard Lincoln, for motion.

S. T. Crawford, contra.

If this be so, such person thereafter has no standing in the court to which the cause has been appealed by other parties, for the rights of such other parties can well be fully adjudicated without affecting in any w’ay the rights of such other parties failing to appeal. That is, in this particular case, each of the appellants and all of those who were brought in this court by the appeal, can have their rights in the land fixed and adjudicated by the court, without the presence of those who by the judgment of the court of common pleas were found to have no interest therein, and from which judgment no appeal has been taken by any one.
It follows, then, that those persons who have not been brought into this court by the appeal, have no right to file pleadings therein, or to call upon this court in any way to adjudicate as to their claims to the land, -which claims have been found against them by the common pleas, and which judgment as to them remains in full force.
